                  Case 14-11260-MFW               Doc 506       Filed 09/25/18        Page 1 of 3




                          IN THE UNITED STATES BANKRUPTCY COURT
                               FOR THE DISTRICT OF DELAWARE

In re:                                                       Chapter 7

LEADING EDGE LOGISTICS LLC., et                              Case No. 14-11260 (MFW)
al.,1
                                                             Jointly Administered
                            Debtors.
                                                             Re: Docket No. 504


           ORDER GRANTING APPLICATION OF ALFRED T. GIULIANO,
    CHAPTER 7 TRUSTEE, FOR AN ORDER (I) PURSUANT TO BANKRUPTCY CODE
        SECTIONS 327(A) AND 328(A), BANKRUPTCY RULES 2014(A) AND 2016,
        AND LOCAL RULE 2014-1 FOR AUTHORITY TO EMPLOY AND RETAIN
    JNR ADJUSTMENT COMPANY, INC. AS COLLECTION AGENT, NUNC PRO TUNC
      TO AUGUST 7, 2018; AND (II) GRANTING WAIVER OF LOCAL RULE 2016-2

                   Upon consideration of the application (the “Application”)2 of Alfred T. Giuliano,

the chapter 7 trustee (the “Trustee”) for (a) authority to employ and retain JNR Adjustment

Company, Inc. (“JNR”) as collection agent to pursue collection of default judgments previously

obtained by the Trustee on behalf of the Debtors’ estates, effective nunc pro tunc to August 7,

2018, pursuant to sections 327 and 328 of Title 11 of the United States Code (as amended, the

“Bankruptcy Code”), Rule 2014 of the Federal Rules of Bankruptcy Procedure (the “Bankruptcy

Rules”), and Rule 2014-1 of the Local Rules for the United States Bankruptcy Court for the

District of Delaware (the “Local Rules”), and (b) a waiver of Local Rule 2016-2 with regard to

time keeping requirements; the Court having reviewed the Application, and the Declaration of

Robert Nielsen (the “Declaration”); the Court finding that: (a) the Court has jurisdiction over this


1
 The Debtors and the last four digits of their respective taxpayer identification numbers are as follows: Leading
Edge Logistics LLC (2293); Alliance Traffic Group, LLC (0161); LEL Enterprises LLC (1052); and LEL Caribe,
LLC (0104). The Debtors’ address is 2098 West Chester Pike, Broomall, PA 119008.
2
    Capitalized terms not defined herein shall have the meanings ascribed to them in the Application.
                Case 14-11260-MFW              Doc 506     Filed 09/25/18     Page 2 of 3



matter pursuant to 28 U.S.C. § 1334 and reference from the District Court pursuant to 28 U.S.C.

§ 157; (b) notice of the Application and the hearing was sufficient under the circumstances; (c)

the Court having determined that JNR is a “disinterested person” pursuant to § 101(14) of the

Bankruptcy Code; and (d) the Court having determined that the legal and factual bases set forth

in the Application and the Declaration establish just cause for the relief granted herein; and it

appearing to the Court that the said Application should be approved, it is HEREBY ORDERED

THAT:

                 1.          The Application is GRANTED as set forth herein.

                 2.          The Trustee is hereby authorized to retain and employ JNR as collection

agent to pursue collection of default judgments previously obtained by the Trustee on behalf of

the Debtors’ estates, pursuant to sections 327 and 328 of the Bankruptcy Code, Bankruptcy

Rules 2014 and 2016, and Local Rule 2014-1, nunc pro tunc to August 7, 2018.

                 3.          JNR is authorized to render professional services to the Trustee as

described in the Application and pursuant to the Agreement.

                 4.          JNR shall be compensated on a contingency fee basis as set forth in the

Application and pursuant to the Agreement, without further order of the Court but subject to the

terms of this Order.

                 5.          JNR shall not be required to maintain or submit to the Court records of

detailed time entries in connection with professional services rendered in these cases.

                 6.          The requirements of Local Rule 2016-2(d) are waived.

                 7.          Prior to payment to JNR, the Trustee shall file and serve a notice (the “Fee

Notice”) indicating the amount of the recovery by JNR and the amount of the fee to be received

DOCS_DE:220887.3 31266/001                         2
                Case 14-11260-MFW              Doc 506      Filed 09/25/18     Page 3 of 3



by JNR. The Fee Notice shall be served by first class mail on the Office of the United States

Trustee and any parties that have filed requests for notice pursuant to Bankruptcy Rule 2002 (the

“Notice Parties”). The Notice Parties shall have ten (10) days to file an objection to the Fee

Notice. If no objections are filed by such ten-day objection deadline, the Trustee may pay JNR

its fee.

                 8.          Notwithstanding any term in the Agreement to the contrary, the Court

retains jurisdiction with respect to all matters arising from or related to the implementation of

this Order.

                 9.          The limitation of liability section in Article 8 the Agreement is deemed to

be of no force or effect with respect to the services to be provided pursuant to this Order.

                 10.         The Trustee and JNR are authorized and empowered to take all actions

necessary to implement the relief granted in this Order.

                 11.         The terms and conditions of this Order shall be immediately effective and

enforceable upon its entry.

                 12.         This Court shall retain jurisdiction with respect to all matters arising from

or related to the implementation of this Order.




      Dated: September 25th, 2018                           MARY F. WALRATH
      Wilmington, Delaware                                  UNITED STATES BANKRUPTCY JUDGE

DOCS_DE:220887.3 31266/001                         3
